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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  )   CASE NO: 2:18-CR-14
                                          )
                                          )
                   v.                     )
                                          )
                                          )
CLIFTON FOSTER                            )

             GOVERNMENT’S NOTICE OF PLEA AGREEMENT

      Now comes the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and pursuant to 18

U.S.C. §3161(h)(1)(G), notifies the Court that a plea agreement has been reached by

the parties which would dispose of the charges pending in the above-captioned case

against the defendant. A copy of the plea agreement has been provided to the Court

for consideration. The government respectfully requests that the Court schedule a

Rule 11 proceeding and accept the defendant’s plea as set forth in the proposed

agreement.

                                              Respectfully submitted,

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              /s/ Matthew A. Josephson
                                              Matthew A. Josephson
                                              Assistant United States Attorney
                                              Georgia Bar No. 367216

                                              /s/ E. Greg Gilluly, Jr.
                                              E. Greg Gilluly, Jr.
                                              Assistant United States Attorney
                                              Tennessee Bar No. 019397
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 2nd day of January, 2019.

                                             BOBBY L. CHRISTINE
                                             UNITED STATES ATTORNEY


                                                 /s/ Matthew A. Josephson
                                                 Matthew A. Josephson
                                                 Assistant United States Attorney
                                                 Georgia Bar No. 367216


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